               IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                        CASE NO. 1:12-cv-333

 KENNETH L. HUNTER, RICK A.              )
 DONATHAN, and JERRY D.                  )
 MEDLIN,                                 )
                                         )
       Plaintiffs,                       )
                                         )
       v.                                )
                                         )                     COMPLAINT
 TOWN OF MOCKSVILLE,                     )
 NORTH CAROLINA; ROBERT W.               )
 COOK, in his official capacity as       )
 Administrative Chief of Police of the   )
 Mocksville Police Department and in his )
 individual capacity; CHRISTINE W.       )
 BRALLEY, in her official capacity as    )
 Town Manager of the Town of             )
 Mocksville and in her individual        )
 capacity,                               )
                                         )
       Defendants.                       )

      Plaintiffs, Kenneth L. Hunter, Rick A. Donathan, and Jerry D. Medlin,

complaining of defendants, do hereby state and allege the following:

                                      ACTION

      1.     Plaintiffs, certified and long-term law enforcement officers employed

by the Mocksville Police Department until their recent terminations on December

29, 2011, institute this action to address retaliation against them as a result of their

reports of and opposition to unlawful, improper and discriminatory practices within

the Department by the administrative chief of police and other officers and




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officials of the Town of Mocksville. Because plaintiffs spoke out against such

practices, they have lost their jobs and have been subjected to severe damages to

their reputations and careers. Plaintiffs have been deprived of their rights to free

speech and other rights guaranteed by the United States and North Carolina

Constitutions, and the law of North Carolina.

                          JURISDICTION AND VENUE

      2.     Plaintiffs bring this action pursuant to 42 U.S.C. § 1983, and the

Constitution and common law of North Carolina. Jurisdiction of this Court is

invoked pursuant to 42 U.S.C. § 1983, 28 U.S.C. § 1331, and the doctrine of

supplemental jurisdiction, 28 U.S.C. § 1367.

      3.     The unlawful practices alleged below were committed within the

Middle District of North Carolina, and venue is therefore proper in this Court

pursuant to 28 U.S.C. § 1391.

                                      PARTIES

      4.     Plaintiff, Kenneth L. Hunter, is and was at all times pertinent to this

action, a citizen of the United States and a resident of Davie County, North Carolina.

      5.     Plaintiff, Rick A. Donathan, is and was at all times pertinent to this

action, a citizen of the United States and a resident of Davie County, North Carolina.

      6.     Plaintiff, Jerry D. Medlin, is and was at all times pertinent to this action,

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a citizen of the United States and a resident of Davie County, North Carolina.

      7.     Defendant, Town of Mocksville ("Town"), is a municipal corporation,

established and existing pursuant to Chapter 160A of the North Carolina General

Statutes, as defined and described in N.C. Gen. Stat. § 160A-11. In the exercise of

its statutory powers, defendant Town has established and operates the Mocksville

Police Department (“MPD”) as a department of the Town. At all times relevant to

this action, defendant Town acted through its managers and policymakers,

including its administrative chief of police, town manager and members of its town

board; and the acts, edicts, and practices of these persons represent the official

policies of defendant Town. At all times relevant to this action, defendant Town

was a “person” within the meaning and definition of 42 U.S.C. § 1983.

      8.     Defendant Robert W. Cook, is, upon information and belief, a resident

of Davie County, North Carolina. At all times pertinent to this action, defendant

Cook has held the position of administrative chief of police of the MPD. Defendant

Cook is sued in his official capacity as administrative chief of police, and in his

individual capacity.

      9.     Defendant, Christine W. Bralley, is, upon information and belief, a

resident of Davie County, North Carolina. At all times pertinent to this action,

defendant Bralley has held the position of town manager. Defendant Bralley is sued

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in her official capacity as town manager, and in her individual capacity.

                                         FACTS

                                 Kenneth L. Hunter

       10.   The plaintiff Kenneth L. Hunter (“Officer Hunter”) has been certified

as a sworn law enforcement officer by the State of North Carolina, pursuant to

North Carolina General Statutes § 17C-2, since 1980.

       11.   On April 12, 1985, Officer Hunter was hired by the MPD as a patrol

officer.

       12.   At that time, and for most of his tenure at MPD, Officer Hunter was

one of the only, and sometimes the only, African-American officer in the MPD.

       13.   Officer Hunter’s service to the MPD has been outstanding, and he has

achieved a series of promotions over his 27-year career.

       14.   Specifically, as a result of his performance and experience, in 1996,

Officer Hunter was promoted to the position of detective; in 2000, he was

promoted to the rank/position of sergeant; in 2005, he was promoted to the

rank/position of captain; and in 2008, he was promoted to the rank of major and

position of assistant chief of police.

       15.   In 2008, at the time of his promotion to the position of assistant chief

of police, defendant Cook informed Officer Hunter that he was also promoting

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Daniel Matthews to the position of assistant chief because the town board would

not permit him to appoint a single assistant chief of police who was African-

American.

      16.    From 2008 until November 28, 2011, Officer Hunter continuously

served MPD as assistant chief of police. He was generally respected by police

officers of the MPD and the public, and held an exemplary record.

      17.    Officer   Hunter   has   been   consistently   commended      for   his

accomplishments, earning such honors as the Legion of Merit Award in 1988; the

Jaycees Outstanding Officer of the Year in 1997; the Meritorious Service Award

from the MPD in 1998; the N.C. Governor's Award for outstanding community

service in 2000; Outstanding Executive of Who's Who for 2009; as well as

multiple letters and expressions of commendation and appreciation.

      18.    As his history reflects, at all times pertinent to this action, Officer

Hunter has been an exceptional officer of the MPD and has diligently carried out

his police duties.

                                Rick A. Donathan

      19.    The plaintiff Rick A. Donathan ("Officer Donathan") has been

certified as a sworn law enforcement officer by the State of North Carolina,

pursuant to North Carolina General Statutes § 17C-2, since 1997.

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       20.     Officer Donathan was hired by the MPD on May 7, 1998, as a patrol

officer.

       21.     Officer Donathan’s service to the MPD has been outstanding, and he

has achieved a series of promotions over his 13-year career.

       22.     As a result of his performance and experience, on July 1, 2007,

Officer Donathan was promoted to the rank/position of sergeant; and on November

28, 2011, he was promoted to the rank/position of lieutenant in the patrol division.

       23.     At the time of his most recent promotion to lieutenant, defendant

Cook informed Officer Donathan that he was an exemplary officer, and that he

wanted to see Officer Donathan as the next captain over the patrol division in the

near future.

       24.     During Officer Donathan's 13 years of service with the MPD, he has

been consistently commended for his accomplishments, earning the Officer of the

Year Awards in 2000 and 2007; the 2007 Silver Star Award for Bravery; induction

into the National Police Hall of Fame in Titusville, Florida, for saving the lives of

eight people from a burning building while he was on duty; as well as multiple

letters and expressions of commendation and appreciation.




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       25.   As his history reflects, at all times pertinent to this action, Officer

Donathan has been an exceptional officer of the MPD and has diligently carried

out his police duties.

                                  Jerry D. Medlin

       26.   The plaintiff Jerry D. Medlin ("Officer Medlin") has been certified as

a sworn law enforcement officer by the State of North Carolina, pursuant to North

Carolina General Statutes § 17C-2, since 2002.

       27.   Officer Medlin was hired by the MPD on June 25, 2006 as a patrol

officer.

       28.   Before his employment with the MPD, Officer Medlin served for four

years as a patrol deputy and school resource officer for the Davie County Sheriff's

Office.

       29.   As a result of Officer Medlin’s outstanding performance and

experience, on January 1, 2008, he was promoted to the position of detective and

was assigned to the investigations of felonies and misdemeanors, including

murders, rapes, suicides, child sex abuse, and other serious crimes.

       30.   In addition to serving the MPD, Officer Medlin was the co-founder

and a board member of the Davie County Gang Awareness Task Force, and served

the MPD as the designated gang officer; he was selected to develop and present the

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Major Crimes Training Course for the MPD in 2011; and he has served as an

instructor with the NC Justice Training and Standards Center since 2008.

       31.   As a result of his service Officer Medlin has been consistently

commended for his accomplishments, and in March 2010, he received the

Meritorious Service Award for identifying and capturing one of North Carolina's

ten most wanted criminals.

       32.   As his history reflects, at all times pertinent to this action, Officer

Medlin has been an exceptional officer of the MPD and has diligently carried out

his police duties.

                                    The MPD

       33.   The MPD is the primary law enforcement agency for the Town of

Mocksville and was established by the Town pursuant to North Carolina General

Statutes § 160A-281.

       34.   In or about 2004, the Town employed defendant Cook as an

administrative chief of police pursuant to North Carolina General Statutes § 160A-

281.

       35.   Defendant Cook is not a certified sworn law enforcement officer

pursuant to North Carolina General Statutes, Chapter 17C.




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                           Corruption within the MPD

      36.    Since the Town’s employment of defendant Cook, there has been a

general perception, substantiated by facts and documents to which plaintiffs had

access, that there was corruption within the MPD.             The corruption was

characterized by unlawfulness, dishonesty, self-dealing, abuse of power, racism,

favoritism, and other misconduct detrimental and destructive to its mission of law

enforcement in the community.

      37.    The general perception of corruption was held by officers within the

MPD, and residents of the community.

      38.    The general perception of corruption was fueled by the fact that

defendant Cook was surrounding himself with those who supported and protected

him from scrutiny, and participated in unlawful and improper conduct; and was

excluding those who objected to or questioned the legality or propriety of his

practices.

      39.    The corruption involved defendant Cook and his closest confidantes,

particularly Assistant Chief Daniel Matthews.

      40.    The plaintiffs, in good faith, and with supporting facts and documents,

were aware of the corruption and the perception thereof within the MPD and the

community, and the damage to the MPD and its reputation.

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      41.      Upon information and belief, the corrupt practices on the part of the

MPD include, but are not limited to, the following:

            a. Defendant Cook has impersonated a certified sworn law enforcement

               officer in violation of North Carolina General Statutes §14-277 in

               operating a police vehicle with blue lights and sirens, and in making

               traffic stops and detaining individuals for arrest.

            b. Defendant Cook has violated policy in openly displaying and

               consuming alcohol while in uniform and armed with a weapon.

            c. Defendant Cook has mishandled and misappropriated funds from the

               drug forfeiture account held by the MPD for his personal benefit and

               for the benefit of others.

            d. Defendant Cook has mishandled and misappropriated funds belonging

               to the local Law Enforcement Association in connection with the

               operation of their firing range for his personal benefit and for the

               benefit of others.

            e. Assistant Chief Matthews, with the approval of defendant Cook, has

               engaged in double-dipping, receiving pay for teaching classes for

               Davidson County Community College as a Firearms Instructor while

               on duty with MPD, thereby receiving double pay from the Town and

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               the community college for the same hours; and has used MPD

               facilities to teach other classes for his own financial gain.

            f. Defendant Cook has repeatedly violated labor laws regarding

               overtime compensation owed to officers of the MPD by fabricating

               timesheets or altering officers’ descriptions of time, failing to pay

               compensation due to the officers.

            g. Defendant Cook has engaged in blatant racial discrimination against

               Officer Hunter and the only other African-American officer of the

               MPD, as set forth in more detail below, and has used racist epithets

               and approved the use of racist epithets by officers within the MPD.

            h. Defendant Cook has engaged in and approved unlawful and improper

               actions on the part of MPD officers, including the unlawful breaking

               and entering of a motor vehicle; "fixing" tickets for favored citizens;

               and other actions which are unlawful, improper and corrupt.

      42.      While officers were generally aware of the corruption, they did not

have access to information necessary to prove specific acts of misconduct, and did

not have the authority to initiate an investigation.

      43.      Officers, including plaintiffs, who were committed to upholding the

law, and who opposed the corruption within the MPD under defendant Cook's

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leadership, feared retaliation if they spoke out against the corruption.

      44.     Citizens within the community were aware of and publicly discussed

the corruption within the MPD, and expressed disapproval of defendant Cook's

leadership.

      45.     The corruption in the MPD detrimentally affected the morale of the

MPD, and impaired the ability of the MPD to carry out its mission.

      46.     For the past several years, the town manager, defendant Bralley, was

informed of corrupt practices within the MPD.           Because of the number of

complaints, defendant Bralley announced to officers of the MPD that she had an

"open door policy," in which officers of the MPD could come to her to report and

discuss any concerns they had regarding the MPD without fear of retaliation.

      47.     As a result of defendant Bralley's announcement, many officers of the

MPD, including plaintiffs, went to her and reported incidents of corruption within

the MPD.

      48.     Nevertheless, despite defendant Bralley's assurances, defendant Cook

retaliated against officers of whom he was aware, who had reported his misconduct

to defendant Bralley.

      49.     Officer Medlin delivered a sealed letter to defendant Bralley reporting

defendant Cook's misconduct. Thereafter, defendant Cook, informed of Officer

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Medlin's reports to defendant Bralley, demoted Officer Medlin from his position as

detective for investigations without cause. Officer Medlin appealed the demotion

to defendant Bralley who, upon information and belief, prevailed upon defendant

Cook to reinstate Officer Medlin to his former position.

      50.    Despite the many reports of corruption within the MPD, neither the

Town nor defendant Bralley took any remedial action to address corruption within

the MPD or to discipline defendant Cook.

                   Events Leading to Plaintiffs' Terminations

      51.    In June of 2011, the hostile atmosphere within the MPD escalated as

two detectives, who had previously used racist epithets and displayed racist

conduct, harassed the only African-American officer within the MPD other than

Officer Hunter. As a result of the harassment, on or about June 28, 2011, upon

information and belief, the African-American officer made a complaint to the SBI.

      52.    On or about July 14, 2011, the African-American officer was helping

some motorists start their car in the parking lot of a service station when he was

publicly berated and cursed by the same two detectives.

      53.    The African-American officer reported the incident to Officer

Donathan, his supervising officer. Officer Donathan encouraged him to stand up

against the racial harassment, and report it to defendant Cook.

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      54.    In addition, Officer Donathan discussed the incident with the

supervising detective, and informed the detective that he had conducted an

investigation, and that witnesses at the scene had substantiated that the African-

American officer had done nothing to provoke or justify the detectives’ conduct.

The supervising detective terminated the discussion when he received a call from

Assistant Chief Matthews.

      55.    On the same date, the African-American officer was called into a

meeting with one or both of the detectives, defendant Cook, Assistant Chief

Matthews and defendant Bralley.         The officer requested repeatedly that his

supervising officer, Officer Donathan, be permitted to come to the meeting since

Officer Donathan was familiar with the facts concerning the incident, and had

conducted an investigation. The officer’s request was denied.

      56.    At the conclusion of the meeting, defendant Cook imposed discipline

of six months probation on the African-American officer although the officer had

done nothing to provoke or justify the detectives’ actions. When the officer

challenged    the   discipline,   defendant   Cook   immediately   terminated   his

employment.

      57.    The officer appealed to defendant Bralley, and was ultimately

reinstated under probation.

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      58.   In August, 2011, Officer Donathan objected to Assistant Chief

Matthews’ unlawful treatment of overtime compensation, and Matthews responded

that he was following defendant Cook’s orders.

      59.   In November, 2011, defendant Cook called Officer Donathan and

requested that he meet with him. Officer Donathan, who was not on duty, went to

defendant Cook’s house and spoke with defendant Cook.                During their

conversation defendant Cook informed Officer Donathan that he was an

“exemplary” officer, and that defendant Cook was promoting him to the position of

lieutenant, along with the promotions of other officers of the MPD. Defendant

Cook admonished Officer Donathan, however, that he would need to adhere to the

"politics" of the MPD, and go along with defendant Cook’s management of the

MPD. Officer Donathan responded that he was not interested in “politics,” and

that he simply wanted to do his job as a sworn law enforcement officer.

      60.   On or about November 28, 2011, defendant Cook announced

promotions within the MPD. As result of the promotions, Officer Donathan was

promoted to the rank of lieutenant.

      61.   On the same date, defendant Cook announced a new chain of

command in which Matthews was promoted to the newly established position of

deputy chief of police as defendant Cook’s second-in-command.

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      62.    Officer Hunter, who had vastly more experience and was more highly

qualified than Matthews, was effectively demoted, and required to report directly

to Matthews for the first time.

      63.    In addition, Officer Hunter’s job duties were modified to strip him of

his supervisory duties over four officers in the investigations division, and to place

him over the department’s vehicles.           When Officer Hunter questioned the

reorganization, defendant Cook informed him that some of his subordinate

officers—including officers who had used racist epithets and displayed racist

conduct in the past—did not want to work under him. Officer Hunter responded

that he had never been notified of any problems in his supervision, but defendant

Cook refused to provide any further explanation.

      64.    Defendant Cook’s “reorganization,” placing Matthews over Officer

Hunter and stripping him of his supervisory duties as assistant chief, resulted from

the facts that Officer Hunter had refused to go along with defendant Cook’s corrupt

practices, and that defendant Cook and his supporters in the MPD, including

Assistant Chief Matthews, did not want an African-American officer in the top

command structure.




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      65.    On November 28, 2011, Officer Hunter filed a grievance with

defendant Cook and defendant Bralley to contest Matthews' promotion over

Officer Hunter, and other corrupt practices within the MPD.

      66.    On November 30, 2011, defendant Cook informed Officer Hunter in a

memorandum that he had "no avenue of appeal" and that the matter was considered

"dropped." Officer Hunter requested that his appeal be forwarded to the next level

of resolution.

      67.    Defendant Cook sent a second memorandum to Officer Hunter to

notify him that Officer Hunter "will report directly to [his] next in command

Deputy Chief Daniel Matthews."

      68.    On December 1, 2011, Officer Hunter wrote to defendant Cook

clarifying that he was appealing defendant Cook’s actions to the next level.

      69.    On December 13, 2011, when he did not receive any reply, Officer

Hunter wrote directly to defendant Bralley, as town manager, explaining that

defendant Cook's decision to promote Matthews over Officer Hunter was against

Town policy, and was motivated by Officer Hunter’s race, and his commitment to

speak up against improper conduct on the part of defendant Cook. Officer Hunter

outlined incidents over the past several years that created the hostile and corrupt

environment of the MPD. Officer Hunter requested a hearing.

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      70.    Defendant Bralley failed to respond, or take any action with respect to

Officer Hunter’s grievance, thereby approving and ratifying defendant Cook’s

decision.

             The Terminations of Plaintiffs on December 29, 2011

      71.    By early December, 2011, plaintiffs had concluded that the corrupt

environment of the MPD had become a serious cause of concern for the Town of

Mocksville and its residents.

      72.    As a result, plaintiffs met and determined that it was their duty as

concerned citizens of Mocksville and committed law enforcement officers to seek

an investigation by state officials concerning the corruption of the MPD.

      73.    Fearing for the security of their law enforcement careers, plaintiffs

purchased a disposable cell phone that could be used to report their citizen

complaints separately from their affiliation with the MPD.

      74.    On or about December 14, 2011, Officers Hunter, Donathan, and

Medlin used the disposable cell phone to make telephone calls to the North

Carolina Attorney General's Office and North Carolina Governor Beverly Purdue's

Office, seeking an investigation of the MPD.

      75.    On that date the officers reached officials of Governor Purdue's

Office. Concerned about retaliation if their identities were disclosed to defendants,

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the officers informed the officials that they had serious concerns with a law

enforcement agency in Mocksville; and reported defendant Cook’s acts of

corruption within the MPD, as described in ¶ 41 above. The officers requested an

independent investigation.

        76.   The officials in the Governor’s Office informed the officers that they

could request an investigation by the SBI, either directly or through the Governor’s

Office. The officers authorized the Governor’s Office to make the request on their

behalf, and provided their disposable cell phone number so the SBI could contact

them to pursue an investigation without exposing their identities to defendant

Cook.

        77.   As of December 20, 2011, the officers still had not received a

telephone call from the SBI on their disposable cell phone. On that date, however,

Officer Medlin saw an SBI Agent who was known to be particularly close to

defendant Cook and Deputy Chief Matthews in the MPD offices. The agent

initially met with Matthews, and spoke with defendant Cook by telephone; and

then, upon information and belief, the two left to meet with defendant Cook.

        78.   On December 22, 2011, the same SBI agent called the plaintiffs'

disposable cell phone and left a message for the owner of the phone to call him.

Having seen the agent at the MPD in contact with defendant Cook and Matthews,

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and having experienced the agent’s interaction with defendant Cook previously,

the officers were concerned that they would be exposed to defendant Cook for

reporting the corruption of the MPD. Through fear of retaliation, the officers did

not return the call at that time, but considered their next step in seeking an

independent investigation.

       79.   On December 29, 2011, Officers Donathan and Medlin received calls

from Matthews, requesting that they report to the office that afternoon. Between

approximately 3:00 p.m. and 3:30 p.m., Officer Donovan and Officer Medlin each

met separately with defendant Cook and Deputy Chief Matthews, and were

abruptly terminated from their employment with the MPD. On the same date,

Officer Hunter’s employment with MPD was terminated at his home.

       80.   When the officers requested an explanation, defendant Cook refused

to inform them of the true basis for his action.

       81.   The actual basis for defendant Cook’s decision to terminate plaintiffs

was to retaliate against them for seeking to expose his corruption, and to remove

them from their positions in which they could challenge his misconduct within the

MPD.

       82.   Officer Donathan requested assistance for the plaintiffs from a town

board member and defendant Bralley. The town board member refused to take

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action, instead referring Officer Donathan to defendant Bralley.          Defendant

Bralley, who was aware that defendant Cook had terminated plaintiffs because of

their objections to and reports of his misconduct, approved and ratified defendant

Cook’s action, and refused to reinstate Officer Donathan.

      83.    Following their terminations, defendant Cook and Deputy Chief

Matthews went through all items of property in plaintiffs’ offices, and withheld

personal property from them.

            ADDITIONAL FACTS ESTABLISHING LIABILITY OF
                  OFFICIAL CAPACITY DEFENDANTS

      84.    As alleged above, at all times pertinent to this action, defendant Cook

held the position of administrative chief of police of the MPD, and acted under color

of state and local law and authority, within the scope of his employment with the

Town, and in furtherance of his employer's business, pursuant to the authority

vested in him as the highest and final policy and decision maker within the MPD;

and was responsible for enforcing policies, regulations and rules to insure that

MPD employees complied with the Constitution and laws of the State of North

Carolina and of the United States. Defendant Cook’s actions, as alleged herein and

as defined under North Carolina law, were corrupt, malicious and beyond the

scope of his official duties. Defendant Cook is liable in his official capacity, as

well as his individual capacity, for his violations of plaintiffs’ Constitutional and
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legal rights; and for the acts of his subordinates, specifically including Deputy

Chief Matthews, of which he was aware or of which he was deliberately

indifferent.

      85.      As alleged above, at all times pertinent to this action, defendant Bralley

held the position of town manager of the Town of Mocksville, and acted under color

of state and local law and authority, within the scope of her employment with the

Town, and in furtherance of her employer's business, pursuant to the authority

vested in her as the highest and final policy and decision maker of the Town; and

was responsible for enforcing policies, regulations and rules to insure that MPD

employees complied with the Constitution and laws of the State of North Carolina

and of the United States. Defendant Bralley’s actions, as alleged herein and as

defined under North Carolina law, were corrupt, malicious and beyond the scope

of her official duties. Defendant Bralley is liable in her official capacity, as well as

her individual capacity, for her violations of plaintiffs’ Constitutional and legal

rights; and for the acts of defendant Cook, of which she was aware or of which she

was deliberately indifferent.

      86.      As alleged above, at all times pertinent to this action, the defendant

Town acted through its managers and policymakers, including its administrative

chief of police, town manager and members of the town board; and the acts, edicts,

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and practices of these persons represent the official policies of defendant Town.

At all times pertinent to this action, defendant Town condoned, acquiesced in, and

ratified the conduct of its town manager and administrative chief of police, and

acted with gross and deliberate indifference to plaintiffs’ Constitutional and legal

rights to report corruption within the MPD. Accordingly, the Town is liable for the

violations of plaintiffs’ Constitutional and legal rights.

      87.      During the time period pertinent to this action, defendant Town,

including its town board members, its town manager and its administrative chief of

police, to whom it had delegated authority over the MPD, failed to carry out their

official responsibilities and duties, as follows:

            a. In failing to supervise Town employees as to their legal obligations;

            b. In retaliating against plaintiffs for their reports and complaints of

               corruption within the MPD, and their requests for assistance and

               protection;

            c. In ratifying, condoning and acquiescing in the discriminatory and

               retaliatory actions of Town employees; and

            d. In failing to take prompt corrective and/or disciplinary action to

               address corruption within the MPD.




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                              WAIVER OF IMMUNITY

       88.      Upon information and belief, defendants have waived sovereign or

governmental immunity through the purchase of one or more policies of liability

insurance pursuant to N.C. Gen. Stat. § 160A-485, and/or by participating in a

local government risk pool pursuant to N.C. Gen. Stat. § 58-23-5.

                                CLAIMS FOR RELIEF

                              First Claim for Relief
                   First Amendment Violations – U.S. Constitution
                                 42 U.S.C. §1983
       89.      Plaintiffs hereby incorporate by reference the above paragraphs as if

fully set forth herein.

       90.      As set forth above, plaintiffs engaged in protected activity in that they

exercised their Constitutional rights to free speech, as guaranteed by the First

Amendment to the United States Constitution, in the following actions:

             a. In objecting to the corrupt acts on the part of defendant Cook and his

                confidantes within the MPD;

             b. In reporting the corrupt acts on the part of defendant Cook and his

                confidantes within the MPD to the Governor’s Office; and




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            c. In seeking an independent investigation of the corrupt acts on the part of

               defendant Cook and his confidantes within the MPD.

      91.      Plaintiffs’ Constitutional rights, as alleged in ¶ 90, were clearly

established at the time of defendants’ violations, and a reasonable manager in

defendants Cook’s and Bralley’s positions would have known that his or her

conduct violated plaintiffs’ rights.

      92.      The above actions, described in ¶ 90, were not part of plaintiffs’

official duties or within the scope of their employment as law enforcement officers

of the MPD.

      93.      In taking the above actions, as described in ¶ 90, plaintiffs exercised

their rights to free speech on matters of immense public concern to the community

which outweighed any claimed interest on the part of the Town.

      94.      In taking the above actions, as described in ¶ 90, plaintiffs spoke out

as citizens of the community.

      95.      In their terminations of plaintiffs, defendants, acting under color of

state and local law, denied to plaintiffs their Constitutional rights to free speech;

and retaliated against them for the exercise of their rights, guaranteed by the First

Amendment to the United States Constitution, in violation of 42 U.S.C. § 1983.




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       96.      As a proximate result of said violations, plaintiffs have suffered and

incurred substantial damages, and are entitled to punitive damages and equitable

relief, as more fully described below.

                                Second Claim for Relief
                       Free Speech Violations -- N.C. Constitution
                              Article I, Sections 1 and 14

        Pursuant to Rule 8(d) of the Federal Rules of Civil Procedure, plaintiffs state

the following claim against the defendant Town and the individual defendants in their

official capacities, alternatively to their Third Claim for Relief below:

       97.      Plaintiffs hereby incorporate by reference the above paragraphs as if

fully set forth herein.

       98.      As set forth above, plaintiffs engaged in protected activity in that they

exercised their state Constitutional rights to free speech, as guaranteed by Article I,

§§ 1 and 14 of the North Carolina Constitution, in the following actions:

             a. In objecting to the corrupt acts on the part of defendant Cook and his

                confidantes within the MPD;

             b. In reporting the corrupt acts on the part of defendant Cook and his

                confidantes within the MPD to the Governor’s Office; and

             c. In seeking an independent investigation of the corrupt acts on the part of

                defendant Cook and his confidantes within the MPD.

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      99.     Plaintiffs’ state Constitutional rights, as alleged in ¶ 98 were clearly

established at the time of defendants’ violations, and a reasonable manager in

defendants Cook’s and Bralley’s positions would have known that his or her

conduct violated plaintiffs’ rights.

      100. The above actions, described in ¶ 98, were not part of plaintiffs’

official duties or within the scope of their employment as law enforcement officers

of the MPD.

      101. In taking the above actions, as described in ¶ 98, plaintiffs exercised

their rights to free speech on matters of immense public concern to the community.

      102. In taking the above actions, as described in ¶ 98, plaintiffs spoke out

as citizens of the community.

      103. In their terminations of plaintiffs, defendants, acting under color of

state and local law, denied to plaintiffs their state Constitutional rights to free

speech, guaranteed by §§ 1 and 14 of Article I of the North Carolina Constitution.

      104. To the extent plaintiffs’ Third Claim for Relief is barred by the

defense of governmental immunity, plaintiffs allege that they have no adequate

remedy under state law for the defendants’ violation of their rights to free speech,

as alleged herein.

      105. As a proximate result of said violations, plaintiffs have suffered and

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incurred substantial damages, and are entitled to punitive damages and equitable

relief, as more fully described below.

                          THIRD CLAIM FOR RELIEF
                      Wrongful Discharge Against Public Policy

        Pursuant to Rule 8(d) of the Federal Rules of Civil Procedure, plaintiffs state

the following claim alternatively to their Second Claim for Relief above:

       106. Plaintiffs hereby incorporate by reference the above paragraphs as if

fully set forth herein.

       107. It is the public policy of the State of North Carolina, as mandated by

Article I, § 14 of the North Carolina Constitution, that employees of local

government be encouraged to object to and to report dishonest, unscrupulous, illegal,

improper and unethical acts by public officials; to request an independent

investigation of potentially unlawful and improper acts by public officials; and that

they be protected from retaliation for reporting and objecting to said acts, and for

exercising their rights to free speech.

       108. Plaintiffs were discharged from their employment with the MPD as a

direct result of and in retaliation for their protected activity in objecting to and

reporting the above acts; for seeking an independent investigation thereof; and for

exercising their rights to free speech.        Accordingly, defendants’ discharge of


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plaintiffs was wrongful and unlawful and in violation of the public policy of the State

of North Carolina.

       109. As a proximate result of said violations, plaintiffs have suffered and

incurred substantial damages, and are entitled to punitive damages and equitable

relief, as more fully described below.

                      DAMAGES AND INJUNCTIVE RELIEF

       110. Plaintiffs hereby incorporate by reference the above paragraphs as if

fully set forth herein.

       111. As a proximate result of defendants’ termination of plaintiffs, each

plaintiff has suffered substantial personal injuries and other damages in the

deprivation of his Constitutional and legal rights, and the termination of his

employment, including: lost income and benefits; emotional distress and mental

anguish; loss of enjoyment and quality of life; damage to his employment reputation,

and the potential loss of his law enforcement career. Accordingly, each plaintiff is

entitled to compensatory damages in an amount in excess of $100,000.

       112. Defendants' actions, as described above, were willful and wanton, and

evinced an intentional or reckless indifference to and disregard for the legal rights of

the plaintiffs. Accordingly, each plaintiff is entitled to punitive damages against the

individual defendants in an amount to be determined in the discretion of the jury.

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      113. There is no fully adequate remedy at law in that plaintiffs cannot be

totally compensated in damages for the loss of their livelihoods. Thus, in the absence

of injunctive relief, plaintiffs will sustain irreparable harm. Accordingly, plaintiffs

should be reinstated to their positions with the MPD, and the defendants should be

enjoined from further violations of plaintiffs’ rights.

                              REQUEST FOR RELIEF

      WHEREFORE, plaintiffs hereby request the following relief:

      1.     That the Court declare that the terminations and other actions against

plaintiffs by defendants were in violation of plaintiffs’ federal and state

Constitutional rights to free speech, and the public policy of North Carolina;

      2.     That each plaintiff be reinstated to his respective position as a law

enforcement officer with the Mocksville Police Department;

      3.     That each plaintiff recover of defendants, jointly and severally,

compensatory damages in an amount in excess of $100,000;

      4.     That each plaintiff recover punitive damages against the individual

defendants in an amount in the discretion of the jury;

      5.     That plaintiffs recover pre-judgment and post-judgment interest on all

amounts recovered herein;

      6.     That plaintiffs recover the costs of this action, including reasonable

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attorneys’ fees for their representation herein pursuant to 42 U.S.C. § 1988; and

      7.       That this Court grant additional relief which it deems just and

appropriate.

                          DEMAND FOR JURY TRIAL

      Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, plaintiffs

demand a trial by jury on all issues presented herein.



      This the 5th day of April, 2012.


                                         /s/ Robert M. Elliot
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